  Case 2:20-cv-04943-SVW-AGR Document 26 Filed 09/21/20 Page 1 of 1 Page ID #:82

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          2:20-cv-04943-SVW-AGR                                          Date      September 21, 2020
 Title             Chris Langer v. McDonalds Corporation et al




 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE
                 Paul M. Cruz                                   N/A
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                              N/A                                                     N/A
 Proceedings:                 IN CHAMBERS ORDER MOVING CASE TO INACTIVE CALENDAR
                              PENDING SETTLEMENT


       The Court, having received the Notice of Settlement, filed September 20, 2020, vacates all
previously set dates.

        The Court moves the matter to the inactive calendar pending finalization of settlement. The
parties shall proceed with the settlement as outlined in the notice. Should the settlement not be finalized
within the designated time, the parties shall notify the Court, in writing, and request that the matter be
restored to the active calendar.




                                                                                                    :
                                                               Initials of Preparer              PMC
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                    Page 1 of 1
